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            Chapter 13 Trustee
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        6
                                         UNITED STATES BANKRUPTCY COURT
        7                                 EASTERN DISTRICT OF CALIFORNIA
        8

        9                                                             )   Case No.: 15-14228-B-13F
            In re:
                                                                      )
       10                                                             )   CHAPTER 13
                                                                      )
       11   Oscar Gutierrez                                           )   DC NO. MHM-2
                                                                      )
       12                   DEBTOR                                    )   DECLARATION IN SUPPORT OF
                                                                      )   CHAPTER 13 TRUSTEE’S
       13                                                                 OBJECTION TO CONFIRMATION OF
                                                                      )
                                                                      )   DEBTORS CHAPTER 13 PLAN
       14
                                                                      )
                                                                      )   DATE: March 10, 2016
       15
                                                                      )   TIME: 1:30 PM
                                                                      )   PLACE: U.S. Courthouse
       16
                                                                      )          Dept. B, Courtroom 13
                                                                      )          5th Floor
       17
                                                                      )          2500 Tulare Street
                                                                      )          Fresno, Ca 93721
       18
                                                                      )
                                                                      )
       19
                                                                      )
                                                                      )
       20
                                                                      )   JUDGE: Hon. Rene Lastreto II
       21

       22            I, Deanna K. Hazelton, declare,

       23            1.     I am an attorney duly licensed to practice before the courts of the state of California and

       24   the Eastern District of California. I am a Staff attorney for the Standing Chapter 13 Trustee, Michael

       25   H. Meyer, in the above-entitled proceeding. If called to testify to the facts set forth in the moving

       26   papers, I could and would testify competently to those facts to which I have personal knowledge. The

       27   following is of my own personal knowledge and if called to testify, I could and would testify as

       28   follows:




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                    2.     I have reviewed the above referenced matter and all documents received by our office
        1
            regarding this matter as well as all documents that have been filed with the court in this matter.
        2
                    3.     I was the examining officer at the 341a meeting of the creditors, in the above referenced
        3
            case. The facts provided in the moving papers are true and correct to the best of my knowledge.
        4
                    4.     The facts in the moving papers are retrieved entirely from (1) the debtors own
        5
            documents filed in the case under penalty of perjury; (2) documents provided by Debtor(s) as required
        6   by law or at the request of the Trustee; (3) statements made by the debtor(s) under penalty of perjury at
        7   the meeting of the creditors.
        8           5.     The information provided in the moving papers that come from statements made by the
        9   Debtor(s) at the meeting of the creditors are either not offered for the truth of the matter asserted and/or

       10
            go to the Debtor(s)’ state of mind, and/or are statements made by the debtor(s) against debtor(s) own
            interest.
       11
                    6.     The information provided in the moving papers that come from the documents signed
       12
            under penalty of perjury are either not offered for the truth of the matter asserted and/or go to the
       13
            Debtor(s)’ state of mind, and/or are statements made by the debtor(s) against debtor'(s) own interest, or
       14
            the Trustee seeks that the court take judicial notice of.
       15
                    7.     The information provided in the moving papers that come from the debtor(s)’ attorney
       16   as required by law or at the request of the Trustee are based on true and correct representations of the
       17   information provided in those documents and were actually documents received from the debtor(s)
       18   counsel. The documents can be provided to the court by way of stipulation by the parties, further
       19   declaration, or evidentiary hearing at the request of the court.

       20
                    I declare under penalty of perjury that the foregoing is true and correct and that I executed
            this declaration on February 16, 2016, at Fresno, California.
       21

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                                                             /s/ Deanna K. Hazelton
                                                             Deanna K. Hazelton
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